              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 ROBERT W. HUBER, JR.,

                          Plaintiff,
 v.                                                  Case No. 16-CV-19-JPS

 GLORIA ANDERSON,
 ELIZABETH HARTMANN,
 MIKE WALCZAK, NIOMI BOCK,
 KATHY WALTER, and JOHN DOE,                  SCHEDULING ORDER

                          Defendants.

       Plaintiff, Robert W. Huber, Jr., a prisoner, brings this action under 42

U.S.C. § 1983 pro se. On March 2, 2016, pursuant to 28 U.S.C. § 1915A,

Magistrate Judge David E. Jones screened his complaint and identified which

claims may proceed. Consistent with the provisions found in Rule 1 of the

Federal Rules of Civil Procedure, to ensure the orderly and timely disposition

of this case, the Court adopts the following omnibus scheduling order:

1.     Amendment of Pleadings

       Should the plaintiff wish to amend his pleading to add or remove

claims or parties, without leave of the court, he may do so no later than

Friday, June 10, 2016. The plaintiff should, however, be aware that Civil

Local Rule 15 (E.D. Wis.) requires that “[a]ny amendment to a

pleading . . . must reproduce the entire pleading as amended, and may not

incorporate any prior pleading by reference.” Civil L.R. 15(a) (E.D. Wis.)

(emphasis added).

       A copy of Civil Local Rule 15 (E.D. Wis.) is included with this order.




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2.      Motions to Dismiss

        Should the defendants wish to file a motion to dismiss, under Rule 12

of the Federal Rules of Civil Procedure, such motion, together with its briefs,

are to be filed no later than Friday, July 8, 2016, and in accordance with Civil

Local Rule 7 (E.D. Wis.).

        If the defendants file a motion to dismiss, the plaintiff is hereby

warned that he must file a response, in accordance with Civil Local Rule 7

(E.D. Wis.), or he may be deemed to have waived any argument against

dismissal and face dismissal of this matter with prejudice.

        Copies of Rule 12 of the Federal Rules of Civil Procedure and Civil

Local Rule 7 (E.D. Wis.) are included with this order.

3.      Discovery

        All requests for discovery shall be served by a date sufficiently early

so that all discovery is completed no later than Thursday, September 15,

2016.

        The court encourages the plaintiff to immediately engage in discovery

to identify the remaining John Doe defendant, and to amend his pleadings

to reflect any such discovered identity. Even if the time to amend pleadings

without leave of court has already passed, the court will readily grant the

plaintiff leave to amend to substitute a named party for currently remaining

John Doe defendant. Personal identification of defendants greatly enhances

the court’s ability to evaluate the plaintiff’s claims, and the court therefore

strongly favors allowing amendment of pleadings to provide such

identification.

        With reference to Rule 30(a)(2)(B) of the Federal Rules of Civil

Procedure, the defendants are hereby granted leave to depose up to five (5)

witnesses confined in prison upon the condition that, at least fourteen days

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before such a deposition, defendants serve all parties with the notice required

under Rule 30.

4.     Summary Judgment

       Any party to this action may move for summary judgment not later

than Monday, October 10, 2016. Any party’s request for summary judgment

must conform with Rule 56 of the Federal Rules of Civil Procedure and Civil

Local Rules 7 and 56 (E.D. Wis.).

       A district court must grant summary judgment “if the movant shows

that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Furthermore,

either party’s failure to respond to a motion for summary judgment or

otherwise comply with Civil Local Rules 7 and 56, may constitute grounds

for the court to grant the opposing party’s motion for summary judgment.

       Copies of Rule 56 of the Federal Rules of Civil Procedure and Civil

Local Rules 7 and 56 (E.D. Wis.) are included with this order.

5.     Trial

       Should this matter proceed to trial, the court provides the parties with

the following dates and instructions. The parties should be aware that all of these

dates related to the administration of the trial are firm and will not be extended for

any reason.

       FINAL PRETRIAL
       CONFERENCE:    Tuesday, January 24, 2017, at 8:30 A.M.

       JURY TRIAL:             Monday, January 30, 2017, at 8:30 A.M.

       Counsel1 for the parties shall confer forthwith to address the

substantial work necessary to the orderly preparation of a single final pretrial


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        The court’s use of the word “counsel,” throughout this order is meant to
include the plaintiff, himself, if he appears pro se at trial.

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report. Toward that end, all counsel who will actually try this case must meet

and confer in person with the goal of jointly preparing a single final pretrial

report, the principal burden for the preparation and filing of which rests with

counsel for the plaintiff. If, however, the plaintiff is proceeding pro se, then

defense counsel is responsible for filing this report electronically via

CM/ECF, although the plaintiff is nonetheless responsible for participating

in the preparation of the report.

       Consistent with the facts and law applicable to the case, the report

must separately address each of the nine (9) enumerated items found in Civil

Local Rule 16(c)(1) (E.D. Wis.). The final pretrial report must be electronically

filed no later than the close of business on Thursday, January 19, 2017. In

addition, a hard copy of the report bearing the inked signatures of all trial

counsel, along with three (3) sets of each party’s exhibits, including all

documents and a photograph of each physical exhibit, formatted, indexed,

and tabbed in individual (no larger than 1" capacity), Easy Open, Locking,

Slant D-ring binders (such as the Cardinal CRD10310 or CRD10311), (three

from plaintiff and three from the defendant), must be simultaneously

delivered or mailed to the court’s chambers on Thursday, January 19, 2017.

       The Court has included a copy of Civil Local Rule 16 (E.D. Wis.) with

this order.

       In preparing the final pretrial report, counsel and their respective

clients should carefully read and study with care each of the following seven

(7) mandatory requirements:

       1.     All exhibits must be marked and sequentially numbered in
              accordance with the procedure outlined in General L. R. 26.
              Copies of all exhibits, including a photograph of each physical
              exhibit, must be disclosed and provided to opposing counsel.
              If an identical exhibit is to be used jointly by both parties


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          during the course of trial, the exhibit should only be marked
          once whether by plaintiff or defendant, and introduced into
          evidence whether by one party or jointly.

    2.    A brief summary of the elements underlying each claim and
          defense to be adjudicated must be included in the final pretrial
          report and inserted immediately preceding the parties’ joint
          proposed jury instructions.

    3.    Each of the parties’ agreed proposed jury instructions as well
          as the proposed verdict form must be appropriately tailored to
          the facts and law applicable to the case. Therefore, each
          proposed instruction as well as the verdict form must be edited
          and formatted precisely as counsel would expect the
          instruction(s) and verdict to be submitted to the jury. Simple
          citations to form book instructions or verdict questions without
          more is wholly unacceptable.

    4.    In the event the parties are unable to agree upon a particular
          instruction or question in the verdict form in its entirety,
          counsel must include separate proposed instructions and/or
          verdict question(s) as part of the final pretrial report
          submission. At the same time, each separately proposed
          instruction or proposed verdict question must be supported by
          a memorandum of law and, if appropriate, an offer of proof
          prepared by counsel for the party proposing the instruction
          and/or verdict question. The final pretrial report must also
          include a memorandum of law and, if appropriate, an offer of
          proof prepared by counsel for the party opposing the
          particular instruction and/or verdict question. To be clear,
          absolutely all briefing both in support of and in opposition to
          any proposed instruction or verdict question must be included
          in the final pretrial report. In accordance with Civil L. R. 7(d),
          failure to file a memorandum in opposition to a particular
          instruction or verdict question will be deemed by the court to
          be sufficient cause to grant the requested instruction or verdict
          question.




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       5.      Absent exceptional circumstances, motions in limine must be
               filed on or before Wednesday, January 18, 2017. Each motion
               in limine should be accompanied by a brief memorandum of
               law in support. Should motions in limine be filed, any response
               to the particular motion is due within three (3) days of the
               filing of such motion. The earlier such motions are filed, the
               more likely the court will be fully prepared to meaningfully
               address the motions during the final pretrial conference.
               Moreover, all non-dispositive motions that do not constitute
               motions in limine must also be filed on or before Wednesday,
               January 18, 2017.

       6.      As officers of the court, counsel have an obligation to discuss
               the anticipated filing of such motions directly with opposing
               counsel, as more often than not such matters are left best
               resolved informally with open communications between
               counsel without the necessity of court intervention. The court
               notes that to discuss requires actual discussion with
               suggestions for genuine compromise, as opposed to mere
               e-mail wars of words between opposing counsel. Therefore,
               when filed, all pretrial motions must include a separate2
               certification prepared by movant’s counsel stating that, after
               personal consultation with counsel for the party opposed to the
               motion, and sincere attempts to resolve their differences, the
               parties are unable to reach an accord. The certification must
               also recite the dates and times of such conferences and the
               names of all participants. To be clear, the court expects the
               parties to confer several times and document those conferences
               before raising a pretrial motion before the court. The failure to
               comply with the letter or the spirit of the Rule will be sufficient
               grounds to deny the motion.

       7.      With regard to memoranda of law submitted to the court in
               reference to disputed jury instructions or verdict questions, or
               a pretrial motion, the court makes the following suggestions




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        The certification that must be filed with a pretrial motion must be docketed
as a separate docket entry and should not be hidden within a motion or a brief.

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          which will serve to aid the court in efficiently addressing such
          matters:

          a.     If the parties intend to file deposition testimony, the
                 parties should e-file a single transcript of the deposition
                 testimony of each witness upon which they intend to
                 rely. Any party citing to a given deponent’s testimony
                 should cite only to the docket entry containing said
                 deponent’s testimony enabling the court to easily locate
                 that deposition, instead of engaging in an archaeological
                 dig to locate the source from which the specific excerpt
                 may have been drawn.

          b.     Any exhibit or report submitted in support of or in
                 opposition to a party’s position should be e-filed in its
                 entirety in a single entry, and any party citing to an
                 exhibit or report should cite only to the one entry
                 containing said report.

          c.     All parties should agree on a given citation system. No
                 party should refer to a document by a different moniker
                 than that by which the other parties refer to the same
                 document. The court strongly encourages the parties to
                 include the docket number (and, if applicable, exhibit
                 letter/number) of documents cited in their submissions.
                 The court also encourages the parties, if they are filing
                 numerous exhibits as attachments to their motions, to
                 include an index attached to the motion that notes the
                 title of the exhibits that follow. When viewing the
                 electronic docket, it should be obvious which
                 documents are responsive to (or in support of) another
                 document, as well as the identity of such other
                 document.

          d.     All documents submitted to the court electronically
                 should be in an electronically searchable format. If any
                 documents are filed under seal, a compact disc
                 containing electronically searchable PDF versions of the
                 files should be provided to the clerk’s office so that the



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                      court will have access to all documents, including those
                      filed under seal, in an electronically searchable format.

              e.      Counsel shall not deliver additional courtesy copies of
                      submissions to the Judge’s chambers unless specifically
                      directed to do so in accordance with the terms of this
                      order.

       As the parties and their counsel endeavor to complete their work

associated with the preparation of the final pretrial report, they are expected

to confer in a candid open manner, and make a good faith effort toward

settlement of the case in its entirety, and should they be unable to fully settle

their differences, agree upon stipulations of ultimate fact or otherwise

narrow the issues that, in the end, will aid the court in conserving its limited

resources.

       In recognition of the court’s limited resources, and an ever burgeoning

case load assigned to this branch of the court, together with the continued

escalating costs associated with litigation generally, the court finds it prudent

to require that counsel and their respective clients seriously undertake all

appropriate measures including utilization of the services of a randomly

assigned magistrate judge or another outside third party neutral agreed

upon by the parties, to bring the case to conclusion short of trial. In the event

counsel and their respective clients wish to avail themselves of the services

of the randomly-assigned magistrate judge, they are reminded that, like

district judges, magistrate judges have very busy calendars. Therefore, in

order to insure timely scheduling of one or more mediation sessions suitably

in advance of the scheduled trial date, immediate steps must be taken in the

event counsel wish to jointly request that the court make such a referral.

       Accordingly, the court finds it prudent to direct that counsel for the

parties confer forthwith to explore settlement, and, if appropriate, utilize the

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services of the randomly-assigned magistrate judge or other third party

neutral for purposes of conducting one or more settlement conferences. The

court will further direct that counsel for plaintiff file under seal with the

court interim and final settlement reports generally summarizing any

progress made as of the report due date, including the date(s) counsel for the

parties actually met and conferred. If, however, the plaintiff is proceeding pro

se, then defense counsel is responsible for filing these reports electronically

via CM/ECF, although the plaintiff is nonetheless responsible for

participating in the preparation of the reports. The interim report must be

filed under seal on or before Monday, October 10, 2016, and a final report

must be filed under seal on or before Tuesday, January 10, 2017.

       Finally, the court readily acknowledges and well appreciates the fact

that in this branch preparation of the final pretrial report requires a

substantial commitment of time and resources, and the parties ought not

treat the court’s directives lightly for in the final analysis adequate

preparation remains the hallmark of an effective advocate, and while every

litigant is entitled to their day in court, they are not entitled to intrude upon

someone else’s day in court.

6.     Additional Instructions and Warnings.

       6.1    Extensions of Time

       Both parties are hereby warned that each shall receive only one (1)

extension of time throughout the duration of this case, with the exclusion of

all dates related to the trial (motions in limine due date, final pretrial report

due date, final pretrial conference date, and jury trial date, all of which are

firm and will not be moved).




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       6.2     Failure to Timely File

       The plaintiff is hereby warned that failure to make a timely

submission or otherwise comply with the court’s orders may result in the

dismissal of this action for failure to prosecute.

       6.3     Submission of Material to Clerk’s Office

       The plaintiff is also hereby reminded to submit all correspondence and

case filings to institution staff, who will scan and e-mail documents to the

Court. The Prisoner E-Filing Pilot Project is in effect at Dodge Correctional

Institution, Green Bay Correctional Institution, Waupun Correctional

Institution, and Wisconsin Secure Program Facility and, therefore, if the

plaintiff is no longer incarcerated at one of those institutions, he will be

required to submit all correspondence and legal material to:

                     Honorable J.P. Stadtmueller
                     Office of the Clerk
                     United States District Court
                     Eastern District of Wisconsin
                     362 United States Courthouse
                     517 E. Wisconsin Avenue
                     Milwaukee, Wisconsin 53202

       In either event, the PLAINTIFF SHOULD NOT MAIL ANYTHING

DIRECTLY TO THE COURT’S CHAMBERS. It will only delay processing of

this matter.

       6.4     Service and Retention of Copies

       The plaintiff is further reminded that he is required under Federal

Rule of Civil Procedure 5(a) to send a copy of every paper or document he

files with the court to the opposing party or, if the opposing party is

represented by counsel, to counsel for that party. Fed. R. Civ. P. 5(b). As each

filing will be electronically scanned and entered on the docket upon receipt

by the clerk, the plaintiff need not mail copies to the defendants. All

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defendants will be served electronically through the court’s electronic case

filing system. The plaintiff should also retain a personal copy of each

document filed with the court. If the plaintiff does not have access to a

photocopy machine, he may send out identical handwritten or typed copies

of any documents.

       6.5    Additional Information and Resources

       In addition to the various Federal Rules of Civil Procedure and Civil

Local Rules that the Court has attached to this order, it has also attached

copies of two monographs prepared by court staff to address common

questions that arise in prisoner and pro se civil litigation. These two

monographs, entitled “Answers to Pro Se Litigants’ Common Questions,”

and “Answers to Prisoner Litigants’ Common Questions,” contain a wealth

of information that the plaintiff may find useful in prosecuting this case.

       Dated at Milwaukee, Wisconsin, this 19th day of May, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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